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                          IN THE UNITED STATES DISTRICT COURT

                               FOR THE DISTRICT OF NEW MEXICO


JANE DOE,

                  Plaintiff,

v.                                                         Civ. No. 21-709 GBW/SCY

THE NEW MEXICO BOARD OF
BAR EXAMINERS, and THE
NATIONAL CONFERENCE OF
BAR EXAMINERS,

                         Defendants.


 AMENDED MOTION TO SEAL, RESTRICT, OR OTHERWISE LIMIT INSPECTION
 OF DOCUMENTS 8 AND 9 FILED WITH THE UNITED STATES DISTRICT COURT
                 FOR THE DISTRICT OF NEW MEXICO


       COMES NOW Plaintiff, by and through undersigned counsels, and moves this Honorable

Court to grant this Motion to Restrict and Seal Documents 8 and 9 in conjunction the PETITION

FOR PERMISSION TO FILE ANONYMOUSLY. Pursuant to Fed. R.Civ.P.5.2(e), for good cause

shown the Court may limit or prohibit a non-party’s remote electronic access to a document filed

with the court.

       The Plaintiff humbly requests that this Court issue an Order directing that previously

submitted Documents Numbers 8 and 9 be sealed in conjunction with the PETITION FOR

PERMISSION TO FILE ANONYMOUSLY and MOTION TO SEAL, RESTRICT, OR

OTHERWISE LIMIT INSPECTION OF THE PETITION FOR PERMISSION TO FILE

ANONYMOUSLY WITH THE UNITED STATES DISTRICT COURT FOR THE DISTRICT

OF NEW MEXICO and states the following in support thereof:
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   1. Zangara Law Office, P.A. submitted Documents 8 and 9 unbeknownst to the Plaintiff and

       her current attorneys of record Lisa Cleveland, Esq. and Chandler Blair, Esq. until 17th of

       August 2021.

   2. Both documents contain the Plaintiff’s contact information and personal identifier

       information.

   3. The client confidentiality agreement inclusive of services for Association between Zangara

       Law Office, PA. and the Plaintiff contained the Plaintiff’s request that the contact, medical,

       and personal identifier information be omitted from documents submitted to the court.

   4. The Plaintiff’s request was omitted in Documents 8 and 9. Consequently, the Plaintiff

       respectfully requests to remain anonymous in all court documents because the subject

       matter of the case regards currently concealed highly sensitive and medically confidential

       records protected under federal laws, per the Americans with Disabilities Act (ADA),

       Health Insurance Portability and Accountability Act of 1996 (HIIPA), and 42 U.S.C.

       § 12101; 12102.

   Thus, the existence of an overriding interest that overcomes the right of public access to the

Court records is present, so the Plaintiff seeks to use the pseudonym Jane Doe in the first instance,

or the initial of her first and last name in the second instance, to remain in confidence and to have

her ADA and HIPPA privacy rights complied with under federal law.

   This request to conceal personal identifiers with respect to the Plaintiff’s federally protected

health records can help eradicate additional disability and employment discrimination against the

Plaintiff now and in the future.

                                                              Date: August 28, 2021

                                                              Respectfully submitted,
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                                                        / s / Chandler C. Blair
                                                        Chandler C. Blair, Esq.
                                                        Law Office of Chandler C. Blair
                                                        P.O Box 27803
                                                        Albuquerque, New Mexico 87125
                                                        +1 (505) 596 5505
                                                        chandler@chandlerblairlaw.com

                                                        and

                                                        / s / Lisa S. Cleveland
                                                        Lisa S. Cleveland, Esq.
                                                        Cooke Chevalier, PLLC
                                                        2626 East 14th Street
                                                        Suite 205
                                                        Brooklyn, New York 11235
                                                        +1 (917) 971 0401
                                                        lisac@cookechevalier.com


                                                        Counsels for the Plaintiff


Certificate of Service: I, the undersigned, hereby certify that a copy of the foregoing was
delivered electronically to counsels of record via the EC/CMF system on the date of filing.

/ S / Chandler C. Blair                                          / S / Lisa S. Cleveland
Chandler C. Blair, Esq.                                          Lisa S. Cleveland, Esq.
